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11                            UNITED STATES DISTRICT COURT
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                 WESTERN DIVISION
14 UNITED STATES OF AMERICA,                  Case No. 2:15-cv-5903-DDP-JEM
15              Plaintiff,
                                              [PROPOSED] ORDER SETTING
16                     v.                     DEADLINES FOR SUBSTANTIAL
                                              COMPLIANCE
17 COUNTY OF LOS ANGELES et al.,
18              Defendants.
                                              Hon. Dean D. Pregerson
19                                            United States District Judge
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1          Having reviewed the Parties’ Stipulation for Court Order Setting Deadlines for
2    Substantial Compliance, and good cause appearing,
3          IT IS HEREBY ORDERED that Defendants take certain steps outlined below to
4    bring the parties’ Settlement Agreement, ECF No. 14, into substantial compliance. It is
5    further ORDERED that the Court finds that:
6          1.     Defendants are currently not in compliance with all provisions of the
7    parties’ Settlement Agreement, ECF No. 14, which was entered as an order of this Court
8    on September 3, 2015. Id. at 57.
9          2.     As a result, more specific remedial relief is necessary, as set forth below.
10         3.     The specific relief set forth below complies in all respects with the
11   provisions of 18 U.S.C. § 3626(a), as it is narrowly drawn, extends no further than
12   necessary to correct ongoing violations of federal rights agreed by the parties with the
13   entry of the Settlement Agreement, is the least intrusive means necessary to correct these
14   violations, and will not have an adverse impact on public safety or the operation of the
15   criminal justice system.
16         4.     The Settlement Agreement remains in effect. This Order does not waive any
17   Settlement Agreement requirements; nor does it reflect any finding or agreement that
18   any other relief beyond that specifically set forth below complies with the requirements
19   of 18 U.S.C. § 3626(a).
20         It is further ORDERED that the specific relief ordered herein will consist of the
21   following:
22         Compliance Deadlines and Benchmarks for Provisions 63, 64, and 80
23         1.     By February 6, 2023, Defendants will inform the United States and Monitor
24   whether they agree to the United States’ demand, stated in the United States’ Motion for
25   Court Order Setting Deadlines for Substantial Compliance (the “Motion”), that
26   Defendants reach substantial compliance with provisions 63, 64, and 80 of the settlement
27   agreement by June 30, 2024. See ECF No. 227 at 21. If Defendants do not agree with
28   this demand, Defendants will propose an alternative date or dates by which Defendants
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1    will reach substantial compliance with these provisions. In addition, by February 6,
2    2023, Defendants will inform the United States and Monitor whether they agree with the
3    interim compliance benchmarks for provisions 63, 64, and 80 set forth in the Motion. See
4    ECF No. 227 at 14–16. If Defendants do not agree with these interim compliance
5    benchmarks, then Defendants will propose alternative interim compliance benchmarks
6    with dates and target compliance percentages leading up to the date substantial
7    compliance will be reached for each provision. The Court has continued the hearing date
8    on the Motion to February 13, 2023; and the parties are ordered to meet and confer
9    before the February 13, 2023 hearing on the Motion regarding any differences between
10   their proposed compliance deadlines and interim benchmarks for provisions 63, 64, and
11   80 that exist as of February 6, 2023.
12         2.     Defendants will take agreed-upon actions to improve compliance with
13   provisions 63, 64, and 80, according to the following schedule:
14                a.    Safely complete the conversion of PDC North to an all-MOH facility
15                      by July 31, 2023.
16                b.    (i) By February 28, 2023, take all required steps required by the State
17                      of California to obtain licensure to open a new psychiatric urgent care
18                      (PUC) in the Jails with at least 20 beds where clinical staff can
19                      administer involuntary psychotropic medication as needed and where
20                      clinically appropriate, and begin operating these beds as soon as
21                      possible after licensure and other state approvals to do so are granted;
22                      (ii)by May 17, 2023, assess the impact of the PUC on the demand for
23                      forensic inpatient beds within the Los Angeles County Jail system
24                      (the “Jails”) provided the PUC is operational by that date; and (iii)
25                      also by May 17, 2023, provide a timeline for satisfying all required
26                      steps to obtain licensure and state approvals to increase the number of
27                      beds in the PUC to 48 and begin taking those steps immediately, or,
28                      in the alternative, identify and begin implementing alternative
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1                            solutions to reduce the demand for inpatient care in the Jails to
2                            comply with settlement provision 64 consistent with paragraph 2(h)
3                            below.
4                c.          Expand the number of operational Stepdown units in the Jails
5                            according to the following schedule:
6                       i.         12 Stepdown pods by March 2023;
7                      ii.         20 Stepdown pods by March 2024;
8                     iii.         28 Stepdown pods by March 2025; and
9                     iv.          30 Stepdown pods by June 2025.
10               d.      By June 30, 2023, provide proof that at least 750 individuals in
11                       custody are receiving treatment through the Jails’ new Medication
12                       Assisted Treatment (MAT) program or have declined such treatment
13                       after it has been offered, and by June 30, 2024, provide proof that at
14                       least 1,500 individuals in custody are receiving this treatment;
15               e.      To expand the amount of out-of-cell time individuals in HOH units
16                       receive, Defendants will:
17                      i.         Immediately change the process by which custody staff
18                                 provide individuals with access to group meetings by offering
19                                 the meetings to upper and lower tiers at the same time, and will
20                                 develop a form to explain offers and refusals;
21                     ii.         As deemed appropriate by Correctional Health Services
22                                 supervisors, clinicians already working in the Jails will
23                                 immediately take on group responsibilities to increase
24                                 structured programming at the Jails, and the County will
25                                 develop a schedule of clinician-led groups; and
26                    iii.         By February 28, 2023, Defendants will provide an analysis of a
27                                 pilot program to hire outside service providers to provide
28                                 group programming within the jails, and detailed plans for
                                                    3
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1                             expanding the pilot program throughout HOH housing.
2                f.     Defendants must provide data regarding the steps described above
3                       (MOH expansion at PDC North, creation of the PUC, stepdown
4                       expansion, MAT expansion, and adequate group programming and
5                       out-of-cell time in HOH) promptly after those programs are
6                       implemented. By January 31, 2023, Defendants must provide an
7                       analysis of the data with respect to MOH expansion at PDC North
8                       and stepdown expansion that projects the impact of those programs
9                       on HOH and MOH demand. By June 30, 2023, Defendants must
10                      provide an equivalent analysis with respect to creation of the PUC,
11                      MAT expansion, and group programming and HOH out-of-cell time
12                      that projects the impact of those programs on HOH and MOH
13                      demand.
14               g.     By January 31, 2023, provide an analysis of the impact of planned
15                      expansion of the Office of Diversion and Reentry (ODR) Housing
16                      program on the demand for inpatient, high observation housing
17                      (HOH), and moderate observation housing (MOH) beds in custody;
18               h.     Defendants will have developed and begun implementing long-term
19                      solutions to ensure all individuals in HOH receive sufficient group
20                      programming and out-of-cell time no later than February 17, 2023;
21                      and Defendants will have developed and begun implementing long-
22                      term solutions to close the remaining gap between mental health
23                      housing demand and supply no later than May 17, 2023.
24         Substantial Compliance Deadlines for Remaining Provisions
25         3.    Defendants will achieve substantial compliance with the following
26   individual provisions of the settlement agreement not yet in substantial compliance in
27   accordance with the following schedule, and will maintain substantial compliance for a
28   period of twelve consecutive months thereafter in accordance with provision 116:
                                               4
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1        Provision Provision Topic                                     Substantial
2        No.                                                           Compliance Deadline
3        25        Transportation of suicidal individuals from         June 30, 2023
4                  station jails and observation pending transfer
         26        Identifying prisoners with emergent or urgent       Reached June 2021–
5                  MH needs upon arrival at reception centers          March 2022; must
6                                                                      maintain one additional
                                                                       quarter
7        34        Release planning                                    December 31, 2022
8        36        MH assessments after adverse triggering events      September 30, 2023
9        37        Court Services Division referrals                   March 31, 2024
10       40        Availability of Qualified Mental Health             September 30, 2023
11                 Professionals
         43        Disciplinary policies for individuals with mental   March 31, 2024
12                 illness
13       52        HOH property restrictions                           December 31, 2023
14       65        Administration of psychotropic medications          March 31, 2024
15       66        Active mental health caseloads outside MH           March 31, 2023
                   housing
16
         67        Refusals of medications                             June 30, 2023 1
17
18   //
19   //
20   //
21   //
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       By January 31, 2023, the United States and Defendants, with input from the Monitor,
     will determine whether any modifications to provision 67 of the settlement agreement
27   are necessary to resolve discussions regarding medication refusals under this provision,
     and if needed will seek to amend the settlement agreement to effectuate this purpose no
28   later than March 31, 2023.
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1          4.    Defendants will achieve substantial compliance with all provisions not
2    referenced in paragraphs 1, 2 and 3 above no later than June 30, 2024, and will maintain
3    substantial compliance for a period of twelve consecutive months thereafter in
4    accordance with provision 116.
5          IT IS SO ORDERED.
6
7    Dated:
                                                   The Honorable Dean D. Pregerson
8                                                  United States District Judge
9    Presented by:
10   Dated: December 23, 2022                      FOR THE UNITED STATES:
11   STEPHANIE S. CHRISTENSEN                      KRISTEN CLARKE
     Attorney for the United States                Assistant Attorney General
12   Acting Under Authority Conferred by 28        Civil Rights Division
     U.S.C. § 515
13                                                 STEVEN H. ROSENBAUM
     DAVID M. HARRIS                               Chief, Special Litigation Section
14   Assistant United States Attorney              Civil Rights Division
     Chief, Civil Division
15                                                 MAURA KLUGMAN
     RICHARD M. PARK                               Deputy Chief, Special Litigation Section
16   Assistant United States Attorney              Civil Rights Division
     Chief, Civil Rights Section, Civil Division
17                                                    /s/ Luis E. Saucedo
        /s/ Matthew Nickell                        LUIS E. SAUCEDO
18   MATTHEW NICKELL                               Trial Attorney, Special Litigation Section
     Assistant United States Attorney              Civil Rights Division
19   Civil Rights Section, Civil Division
                                                   MAGGIE FILLER
20      /s/ Margaret M. Chen*                      Trial Attorney, Special Litigation Section
     MARGARET M. CHEN                              Civil Rights Division
21   Assistant United States Attorney
     Civil Rights Section, Civil Division          Attorneys for the United States of America
22
23   Dated: December 23, 2022                      FOR DEFENDANTS:
24
                                                     /s/ Robert E. Dugdale
25                                                 ROBERT E. DUGDALE
26                                                 Kendall Brill & Kelly LLP

27                                                 Attorneys for the County of Los Angeles
28                                                 and Los Angeles County Sheriff

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1    Dated: December 23, 2022                        FOR PLAINTIFF-INTERVENORS:
2
                                                       /s/ Grant Davis-Denny
3                                                    GRANT DAVIS-DENNY
                                                     Munger, Tolles & Olson LLP
4
5    * I hereby attest that all signatories listed, and on whose behalf this filing is submitted,
6    concur in this filing’s content and have authorized its filing.

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